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                                    No. 20-15948
                                    No. 20-15948

                                        IIN
                                          NT HE
                                            THE

              United   States Court
              Zilniteb iptdtCg  Court of
                                      of Appeals
                                         RppeaU
                     for the
                     for     Ninth Circuit
                         tbe i/intb Circuit
                         ANDREW T
                         ANDREW   ETER and
                                TETER  and JJAMES
                                             AMES G RELL,
                                                  GRELL,
                                                           Plaintiffs-Appellants,
                                                           Plaintiffs-Appellants,
                                          v.
                                          v.

 ANNE E.
 ANNE E. L OPEZ, in
         LOPEZ,  in her
                    her Official
                        Official Capacity
                                 Capacity asas the
                                               the Attorney
                                                   Attorney General
                                                             General of the State
                                                                     of the State of
                                                                                  of
 Hawai‘i and
 Hawai`i and D ARRYL NG,
             DARRYL     NG, in his Official
                            in his Official Capacity  as the
                                            Capacity as  the State
                                                             State Sheriff
                                                                   Sheriff Division
                                                                           Division
                                   Administrator,
                                   Administrator,
                                                           Defendants-Appellees.
                                                           Defendants-Appellees.

   On Appeal from
   On Appeal      the United
             from the United States District Court
                             States District Court for the District
                                                   for the          of Hawai‘i
                                                           District of Hawai`i
         Honorable  Alan C.
         Honorable Alan  C. Kay,
                            Kay, Senior  United States
                                  Senior United         District Judge
                                                States District  Judge
                    (Civil No.
                    (Civil No. 19-cv-00183-ACK-WRP)
                               19-cv-00183-ACK-WRP)


  PETITION
  PETITION FOR
           FOR PANEL
               PANEL REHEARING AND REHEARING
                     REHEARING AND REHEARING EN BANC
                                             EN BANC


ANNE E.
ANNE  E. L OPEZ
         LOPEZ                                     NEAL KUMAR
                                                   NEAL  KUMAR KATYAL
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   Attorney           of the
             General of      State of
                         the State of Hawai
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         Counselfor  Defendants-Appellees Anne
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                                                  Lopez and
                                                        and Darryl
                                                            Darryl Ng
                                                                   Ng
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  FEDERAL RULE
  FEDERAL RULE OF APPELLATE PROCEDURE
               OF APPELLATE           35(b) STATEMENT
                            PROCEDURE 35(b) STATEMENT

      The panel
      The panel decision
                decision conflicts with precedent
                         conflicts with precedent of the Supreme
                                                  of the         Court and
                                                         Supreme Court     this
                                                                       and this

Court, distorts the
Court, distorts the Second Amendment’s meaning
                    Second Amendment's meaning in
                                               in an area of
                                                  an area of exceptional
                                                             exceptional

importance, and
importance, and greatly
                greatly diminishes
                        diminishes the
                                   the States’ sovereign power
                                       States' sovereign power to
                                                               to protect
                                                                  protect their
                                                                          their

citizens.
citizens.

      The panel
      The panel invalidated Hawai‘i’s ban
                invalidated Hawai`i's ban on
                                          on butterfly
                                             butterfly knives,
                                                       knives, and
                                                               and in so doing
                                                                   in so doing

misread the
misread the Supreme Court’s opinion
            Supreme Court's opinion in New York
                                    in New      State Rifle
                                           York State Rifle &
                                                            & Pistol
                                                              Pistol Association
                                                                     Association

v. Bruen, 142
v. Bruen, 142 S.
              S. Ct. 2111 (2022),
                 Ct. 2111 (2022), in
                                  in two
                                     two fundamental ways. First,
                                         fundamental ways. First, the
                                                                  the panel
                                                                      panel held
                                                                            held

that anything
that anything capable of being
              capable of being used
                               used as
                                    as aa weapon
                                          weapon is “presumptively” protected
                                                 is "presumptively" protected

under the
under the Second Amendment, erroneously
          Second Amendment,             relieving Plaintiffs
                            erroneously relieving Plaintiffs of their burden
                                                             of their burden to
                                                                             to

prove that
prove that their
           their desired
                 desired weapons
                         weapons are protected by
                                 are protected by the
                                                  the Second Amendment.
                                                      Second Amendment.

Op. 19-20. Those
Op. 19-20. Those holdings
                 holdings squarely
                          squarely conflict with Bruen
                                   conflict with Bruen and
                                                       and this
                                                           this Court's
                                                                Court’s opinion
                                                                        opinion

in United
in        States v.
   United States    Alaniz, 69
                 v. Alaniz,    F.4th 1124
                            69 F.4th 1124 (9th
                                          (9th Cir.
                                               Cir. 2023),
                                                    2023), both
                                                           both of which recognize
                                                                of which recognize

that plaintiffs
that plaintiffs must
                must first make aa "threshold"
                     first make    “threshold” showing
                                               showing that
                                                       that "the
                                                            “the weapon
                                                                 weapon at
                                                                        at issue
                                                                           issue is
                                                                                 is

‘in
`in common use today
    common use today for self-defense.’ ” Id.
                     for self-defense."   Id. at
                                              at 1128
                                                 1128 (quoting
                                                      (quoting Bruen,
                                                               Bruen, 142
                                                                      142 S.
                                                                          S. Ct. at
                                                                             Ct. at

2134).
2134).

      Second, the
      Second, the panel
                  panel dramatically
                        dramatically altered
                                     altered the
                                             the legal
                                                 legal test
                                                       test for
                                                            for evaluating historical
                                                                evaluating historical

analogues under
analogues under the
                the Second Amendment. The
                    Second Amendment.     panel limited
                                      The panel limited the
                                                        the universe
                                                            universe of
                                                                     of

relevant analogues
relevant analogues to
                   to those
                      those imposing the same
                            imposing the same type
                                              type of
                                                   of restriction
                                                      restriction on weapons the
                                                                  on weapons the

panel viewed
panel viewed as physically similar
             as physically similar to
                                   to butterfly
                                      butterfly knives.
                                                knives. Op.
                                                        Op. 24.
                                                            24. But Bruen directed
                                                                But Bruen directed



                                          1
                                          1
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courts to consider
courts to          “how and
          consider "how and why"
                            why” regulations generally "burden
                                 regulations generally “burden aa law-abiding
                                                                  law-abiding

citizen’s
citizen's right to armed
          right to armed self-defense"—not
                         self-defense”—not just
                                           just the
                                                the precise
                                                    precise weapon
                                                            weapon at issue. 142
                                                                   at issue. 142 S.
                                                                                 S.

Ct. at 2133
Ct. at 2133 (emphasis
            (emphasis added).
                      added).

      Combined, these errors
      Combined, these errors eliminate any nexus
                             eliminate any nexus between
                                                 between the
                                                         the Second
                                                             Second

Amendment and
Amendment     self-defense, despite
          and self-defense, despite the
                                    the Supreme Court’s repeated
                                        Supreme Court's repeated instruction
                                                                 instruction

that self-defense
that self-defense is “central to
                  is "central to the
                                 the Second Amendment right.”
                                     Second Amendment         District of
                                                      right." District of Columbia
                                                                          Columbia

v. Heller, 554
v. Heller, 554 U.S.
               U.S. 570,
                    570, 628 (2008). The
                         628 (2008). The panel's
                                         panel’s opinion
                                                 opinion also breaks from
                                                         also breaks from

numerous district
numerous district courts, including many
                  courts, including many within
                                         within this
                                                this Circuit, that have
                                                     Circuit, that have faithfully
                                                                        faithfully

followed Bruen and
followed Bruen and Alaniz.
                   Alaniz. The
                           The Court
                               Court should
                                     should grant
                                            grant rehearing.
                                                  rehearing.

                                 BACKGROUND
                                 BACKGROUND

      Hawai‘i has
      Hawai`i has long
                  long regulated
                       regulated the
                                 the possession
                                     possession and
                                                and carrying
                                                    carrying of
                                                             of knives
                                                                knives closely
                                                                       closely

associated with
associated with criminal activity. See
                criminal activity. See C002-C003 (1833 Kingdom
                                       C002-0003 (1833 Kingdom of
                                                               of Hawai‘i law
                                                                  Hawai`i law

banning sailors
banning sailors from bringing knives
                from bringing        ashore).1 In
                              knives ashore)!  In the
                                                  the year
                                                      year Hawai`i
                                                           Hawai‘i became
                                                                   became aa State,
                                                                             State,

its legislature
its legislature banned
                banned switchblade
                       switchblade knives,
                                   knives, aa subcategory
                                              subcategory of
                                                          of knife
                                                             knife closely
                                                                   closely associated
                                                                           associated

with criminal
with criminal and gang activity.
              and gang           See Laws
                       activity. See Laws of the Territory
                                          of the Territory of Hawaii, Act
                                                           of Hawaii, Act 225,
                                                                          225, §§ 1
                                                                                  1

(1959); ER-7.
(1959); ER-7.

      Much like
      Much like switchblades,
                switchblades, butterfly
                              butterfly knives
                                        knives (also
                                               (also known
                                                     known as balisongs) can
                                                           as balisongs)     be
                                                                         can be

“opened or
"opened or closed with one
           closed with one hand"
                           hand” with
                                 with "an
                                      “an intimidating
                                          intimidating and
                                                       and threatening
                                                           threatening effect.”
                                                                       effect."




11 "A,"
   “A,” "B,"
        “B,” and
             and "C"
                 “C” prefixed
                     prefixed references
                              references are
                                         are found in the
                                             found in the Addenda
                                                          Addenda to
                                                                  to the
                                                                     the
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 Supplemental Brief     Defendants-Appellants. ECF
                     of Defendants-Appellants.        No. 69.
                                                ECF No.   69.

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ER-8. Their physical
ER-8. Their physical design
                     design also
                            also means
                                 means they
                                       they can be deployed
                                            can be deployed quickly.
                                                            quickly. ER-81; see
                                                                     ER-81; see

ER-152 (photograph). In
ER-152 (photograph). In 1992,
                        1992, however,
                              however, the
                                       the Hawai‘i
                                           Hawai`i Supreme
                                                   Supreme Court held that
                                                           Court held that

butterfly knives
butterfly knives fell
                 fell outside the statutory
                      outside the statutory ban
                                            ban on switchblades. In
                                                on switchblades. In Interest
                                                                    Interest of
                                                                             of Doe,
                                                                                Doe,

828 P.2d
828      272, 275-276
    P.2d 272, 275-276 (Haw.
                      (Haw. 1992).
                            1992). Given law-enforcement testimony
                                   Given law-enforcement testimony that
                                                                   that

butterfly knives
butterfly        were popular
          knives were popular among gangs and
                              among gangs     juveniles, the
                                          and juveniles, the legislature prohibited
                                                             legislature prohibited

butterfly knives.
butterfly         See Haw.
          knives. See Haw. Rev.
                           Rev. Stat.
                                Stat. § 134-53; ER-6-8.
                                      § 134-53; ER-6-8.

      Plaintiffs Andrew Teter
      Plaintiffs Andrew Teter and
                              and James
                                  James Grell brought aa Second
                                        Grell brought           Amendment
                                                         Second Amendment

challenge to Hawai`i's
challenge to Hawai‘i’s butterfly-knife
                       butterfly-knife ban
                                       ban in 2019. ER-141-160,
                                           in 2019. ER-141-160, ER-163.
                                                                ER-163. The
                                                                        The

District Court,
District        ruling before
         Court, ruling before Bruen,
                              Bruen, assumed
                                     assumed without
                                             without deciding
                                                     deciding that
                                                              that butterfly
                                                                   butterfly knives
                                                                             knives

were within
were within the
            the Second Amendment’s scope
                Second Amendment's scope and
                                         and sustained
                                             sustained the
                                                       the law
                                                           law by
                                                               by applying
                                                                  applying

intermediate scrutiny.
intermediate scrutiny. See
                       See ER-26-44.
                           ER-26-44.

      Bruen abrogated
      Bruen           means-end scrutiny
            abrogated means-end scrutiny while
                                         while this
                                               this appeal was pending.
                                                    appeal was pending.

Instead, Bruen
Instead, Bruen directed
               directed courts to determine
                        courts to determine whether
                                            whether Plaintiffs’ proposed conduct
                                                    Plaintiffs' proposed conduct

falls within the
falls within the textual
                 textual scope
                         scope of
                               of the
                                  the Second Amendment, and—if
                                      Second Amendment,        so—to determine
                                                        and—if so—to determine

whether the
whether the State
            State can identify historical
                  can identify historical analogues
                                          analogues justifying
                                                    justifying its
                                                               its regulation. See
                                                                   regulation. See

142 S.
142 S. Ct. at 2129-30.
       Ct. at 2129-30. The
                       The Court denied Hawai`i's
                           Court denied Hawai‘i’s request to remand
                                                  request to        in light
                                                             remand in light of
                                                                             of

Bruen, instead
Bruen, instead directing
               directing the
                         the parties
                             parties to
                                     to submit
                                        submit supplemental
                                               supplemental briefs
                                                            briefs within
                                                                   within 30
                                                                          30 days.
                                                                             days.

ECF No. 66;
ECF No. 66; see
            see Oral
                Oral Arg.
                     Arg. 13:30-16:48.
                          13:30-16:48.

      The panel
      The panel ruled Hawai‘i’s butterfly-knife
                ruled Hawai`i's butterfly-knife ban
                                                ban unconstitutional.
                                                    unconstitutional. Op. 31. It
                                                                      Op. 31. It

first
first concluded that, because
      concluded that, because "bladed
                              “bladed weapons
                                      weapons facially
                                              facially constitute
                                                       constitute ‘arms,’
                                                                  `arms," ” they
                                                                            they fall
                                                                                 fall



                                          3
                                          3
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within "the
within “the plain
            plain text
                  text of
                       of the
                          the Second Amendment” and
                              Second Amendment" and are
                                                    are therefore
                                                        therefore presumptively
                                                                  presumptively

protected. Op.
protected. Op. 19-20. The panel
               19-20. The panel then
                                then rejected
                                     rejected Hawai`i's
                                              Hawai‘i’s argument that butterfly
                                                        argument that butterfly

knives are
knives are "dangerous
           “dangerous and
                      and unusual"
                          unusual” because
                                   because Hawai`i
                                           Hawai‘i "failed
                                                   “failed to
                                                           to present
                                                              present evidence”
                                                                      evidence"

that butterfly
that butterfly knives
               knives are
                      are not
                          not commonly used for
                              commonly used for any lawful purpose.
                                                any lawful purpose. Op. 20-21.
                                                                    Op. 20-21.

      The panel
      The panel next
                next considered whether Hawai`i
                     considered whether Hawai‘i had
                                                had produced
                                                    produced adequate
                                                             adequate

“historical analogues."
"historical analogues.” Op.
                        Op. 23-24.
                            23-24. Despite
                                   Despite acknowledging
                                           acknowledging that
                                                         that Bruen
                                                              Bruen does
                                                                    does not
                                                                         not

demand aa "historical
demand    “historical twin,"
                      twin,” the
                             the panel
                                 panel rejected
                                       rejected as “[im]proper historical
                                                as "[im]proper historical analogues"
                                                                          analogues”

any statutes
any statutes regulating
             regulating "kinds
                        “kinds of
                               of knives that are
                                  knives that     distinct from
                                              are distinct      butterfly knives"
                                                           from butterfly knives” and
                                                                                  and

any statutes
any statutes short
             short of
                   of flat prohibitions on
                      flat prohibitions on all public "carry"
                                           all public “carry” or “possession.” Op.
                                                              or "possession." Op.

23-24, 28
23-24, 28 (quotation
          (quotation marks
                     marks and
                           and emphasis
                               emphasis omitted). Finding butterfly
                                        omitted). Finding butterfly knives
                                                                    knives

physically "analogous
physically “analogous to
                      to an
                         an ordinary pocketknife,” the
                            ordinary pocketknife," the panel
                                                       panel deemed
                                                             deemed Hawai‘i’s
                                                                    Hawai`i's

ban on
ban    butterfly knives
    on butterfly        unlawful because
                 knives unlawful because Hawai‘i
                                         Hawai`i cited no statutes
                                                 cited no statutes that
                                                                   that "prohibited
                                                                        “prohibited

the carry”
the carry" or “possession” of
           or "possession"    “pocketknives.” Op.
                           of "pocketknives." Op. 28.
                                                  28.

                  REASONS FOR GRANTING
                  REASONS FOR GRANTING REHEARING
                                       REHEARING

      The panel's
      The panel’s Second Amendment framework
                  Second Amendment framework cannot be squared
                                             cannot be squared with
                                                               with

Supreme Court or
Supreme Court    Ninth Circuit
              or Ninth         precedent. The
                       Circuit precedent. The panel
                                              panel opinion
                                                    opinion eliminates the nexus
                                                            eliminates the nexus

to self-defense
to self-defense laced into both
                laced into both steps
                                steps of
                                      of Bruen'
                                         Bruen’ss analysis and relieves
                                                  analysis and relieves challengers
                                                                        challengers of
                                                                                    of

any burden
any burden to
           to establish that their
              establish that their conduct
                                   conduct falls within the
                                           falls within the text
                                                            text of the Second
                                                                 of the Second

Amendment "right
Amendment “right to
                 to keep
                    keep and bear Arms"—instead
                         and bear Arms”—instead erroneously placing the
                                                erroneously placing the

burden on
burden on governments
          governments to
                      to prove
                         prove that
                               that aa weapon
                                       weapon is not covered,
                                              is not          no matter
                                                     covered, no matter how
                                                                        how



                                          4
                                          4
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uncommon or
uncommon    untethered that
         or untethered that weapon
                            weapon is
                                   is to
                                      to self-defense.
                                         self-defense. The
                                                       The opinion is the
                                                           opinion is the first
                                                                          first

Circuit-level decision to
Circuit-level decision to strike
                          strike down
                                 down aa ban
                                         ban on
                                             on aa category of weapon
                                                   category of weapon after
                                                                      after Bruen,
                                                                            Bruen,

and its
and its analysis
        analysis greatly
                 greatly distorts
                         distorts the
                                  the Second Amendment’s scope.
                                      Second Amendment's scope. Rehearing
                                                                Rehearing is
                                                                          is

necessary on
necessary    this vital
          on this vital issue.
                        issue.

I.
I.    THE
      THE PANEL DECISION CONFLICTS
          PANEL DECISION           WITH SUPREME
                         CONFLICTS WITH         COURT
                                        SUPREME COURT
      AND NINTH
      AND NINTH CIRCUIT
                CIRCUIT PRECEDENT.
                        PRECEDENT.

      A.
      A.     Self-Defense Is Integral
             Self-Defense Is Integral To
                                      To The
                                         The Second Amendment.
                                             Second Amendment.

      Self-defense
      Self-defense is an inextricable
                   is an inextricable component of the
                                      component of the Second Amendment right
                                                       Second Amendment right

articulated by
articulated by the
               the Supreme
                   Supreme Court
                           Court and this Court.
                                 and this        In the
                                          Court. In the groundbreaking
                                                        groundbreaking Heller
                                                                       Heller

decision, the
decision, the Supreme
              Supreme Court
                      Court explained that the
                            explained that the Founders
                                               Founders "understood
                                                        “understood the
                                                                    the right
                                                                        right to
                                                                              to

enable individuals to
enable individuals to defend
                      defend themselves,"
                             themselves,” including to protect
                                          including to protect "against
                                                               “against both
                                                                        both public
                                                                             public

and private
and private violence,"
            violence,” thus
                       thus recognizing
                            recognizing that
                                        that "the
                                             “the inherent
                                                  inherent right of self-defense
                                                           right of self-defense has
                                                                                 has

been central
been         to the
     central to the Second Amendment right.”
                    Second Amendment right." 554 U.S. at
                                             554 U.S. at 594,
                                                         594, 628.
                                                              628. When
                                                                   When

holding the
holding the Second Amendment applicable
            Second Amendment applicable to
                                        to the
                                           the States, McDonald v.
                                               States, McDonald v. City of
                                                                   City of

Chicago
Chicago likewise stressed that
        likewise stressed that "self-defense
                               “self-defense was
                                             was ‘the central component
                                                 `the central component of the
                                                                        of the

right itself."
right itself.’ ” 561 U.S. 742,
                 561 U.S. 742, 787 (2010) (quoting
                               787 (2010) (quoting Heller,
                                                   Heller, 554 U.S. at
                                                           554 U.S. at 599).
                                                                       599). And
                                                                             And

Bruen reiterated
Bruen            that the
      reiterated that the Second Amendment "protect[s]
                          Second Amendment “protect[s] an individual right
                                                       an individual       to keep
                                                                     right to keep

and bear
and bear arms
         arms for
               for self-defense."
                   self-defense.” 142
                                  142 S.
                                      S. Ct. at 2125
                                         Ct. at 2125 (emphasis
                                                     (emphasis added).
                                                               added).

      Both Bruen
      Both Bruen and
                 and this
                     this Court's
                          Court’s subsequent
                                  subsequent decision
                                             decision in Alaniz emphasized
                                                      in Alaniz            the
                                                                emphasized the

centrality
centrality of self-defense to
           of self-defense to Bruen's
                              Bruen’s "two-part
                                      “two-part test"
                                                test” governing
                                                      governing Second Amendment
                                                                Second Amendment

challenges. Alaniz, 69
challenges. Alaniz,    F.4th at
                    69 F.4th at 1128.
                                1128. "Bruen
                                      “Bruen step
                                             step one involves aa threshold
                                                  one involves    threshold


                                          5
                                          5
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inquiry” under
inquiry" under the
               the plain
                   plain text
                         text of the Second
                              of the        Amendment to
                                     Second Amendment to "determin[e]
                                                         “determin[e] whether
                                                                      whether

the challenger
the challenger is
               is ‘part
                  `part of “the people"
                        of "the people” whom
                                        whom the
                                             the Second Amendment protects,'
                                                 Second Amendment protects,’

whether the
whether the weapon
            weapon at issue is
                   at issue    ‘ “in common
                            is "in          use” today
                                     common use" today for self-defense,’ and
                                                       for self-defense,' and

whether the
whether the ‘proposed
            `proposed course
                      course of
                             of conduct’
                                conduct' falls within the
                                         falls within the Second Amendment.”
                                                          Second Amendment."

Id. (quoting
Id. (quoting Bruen
             Bruen 142
                   142 S.
                       S. Ct.
                          Ct. at 2134-35). Only
                              at 2134-35). Only once plaintiffs have
                                                once plaintiffs have established
                                                                     established

these elements
these          does their
      elements does their proposed
                          proposed conduct become "presumptively"
                                   conduct become “presumptively” lawful.
                                                                  lawful.

Bruen, 142
Bruen, 142 S. Ct. at
           S. Ct. at 2126.
                     2126.

      “If the
      "If the first step is
              first step    satisfied, [the
                         is satisfied, [the court] proceeds to
                                            court] proceeds to Bruen
                                                               Bruen step
                                                                     step two,
                                                                          two, at
                                                                               at which
                                                                                  which

the ‘government
the             must then
    `government must then justify
                          justify its
                                  its regulation,’
                                      regulation," ” by
                                                     by "produc[ing]
                                                        “produc[ing] representative
                                                                     representative

analogues to
analogues to demonstrate
             demonstrate that
                         that the
                              the challenged law is
                                  challenged law is consistent with aa historical
                                                    consistent with    historical

tradition of
tradition    regulation.” Alaniz,
          of regulation." Alaniz, 69
                                  69 F.4th
                                     F.4th at
                                           at 1128
                                              1128 (quoting
                                                   (quoting Bruen,
                                                            Bruen, 142
                                                                   142 S. Ct. at
                                                                       S. Ct. at

2130). This
2130). This involves
            involves comparing “how and
                     comparing "how and why
                                        why the
                                            the regulations
                                                regulations burden
                                                            burden aa

law-abiding citizen’s
law-abiding citizen's right
                      right to armed self-defense."
                            to armed self-defense.” Bruen,
                                                    Bruen, 142
                                                           142 S.
                                                               S. Ct. at 2133
                                                                  Ct. at 2133

(emphasis added).
(emphasis added). "Notably,
                  “Notably, the
                            the analogue
                                analogue required
                                         required at
                                                  at step
                                                     step two
                                                          two need
                                                              need not
                                                                   not be
                                                                       be aa

‘historical
`historical twin,’
            twin,'"” Alaniz,
                     Alaniz, 69
                             69 F.4th
                                F.4th at
                                      at 1128
                                         1128 (quoting
                                              (quoting Bruen,
                                                       Bruen, 142
                                                              142 S.
                                                                  S. Ct. at 2133),
                                                                     Ct. at 2133), or
                                                                                   or

“a dead
"a dead ringer,” Bruen, 142
        ringer," Bruen, 142 S.
                            S. Ct.
                               Ct. at 2133.
                                   at 2133.

      B.
      B.     The
             The Panel Decision Erroneously
                 Panel Decision             Erased Self-Defense
                                Erroneously Erased Self-Defense From
                                                                From This
                                                                     This
             Court’s Second
             Court's        Amendment Analysis.
                     Second Amendment   Analysis.

      The panel
      The panel eliminated self-defense from
                eliminated self-defense      both steps
                                        from both steps of
                                                        of the
                                                           the Bruen
                                                               Bruen analysis,
                                                                     analysis,

instead holding
instead holding that
                that any
                     any weapon
                         weapon is presumptively protected
                                is presumptively protected until
                                                           until the
                                                                 the government
                                                                     government

proves otherwise.
proves            These holdings
       otherwise. These holdings conflict with the
                                 conflict with the Supreme
                                                   Supreme Court’s
                                                           Court's Second
                                                                   Second


                                          6
                                          6
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Amendment cases
Amendment       and this
          cases and this Court’s post-Bruen
                         Court's post       decision in
                                      Bruen decision in Alaniz—an
                                                        Alaniz—an opinion
                                                                  opinion the
                                                                          the

panel never
panel never even
            even cited.
                 cited.

      1. At
      1. At Bruen's
            Bruen’s first step, the
                    first step, the panel
                                    panel erroneously
                                          erroneously relieved
                                                      relieved Plaintiffs
                                                               Plaintiffs of any
                                                                          of any

burden to
burden to show
          show that
               that butterfly
                    butterfly knives
                              knives are
                                     are "'in
                                         “ ‘in common use’ today
                                               common use' today for self-defense.”
                                                                 for self-defense."

Alaniz, 69
Alaniz, 69 F.4th
           F.4th at 1128 (quoting
                 at 1128 (quoting Bruen,
                                  Bruen, 142
                                         142 S.
                                             S. Ct.
                                                Ct. at 2134). Instead,
                                                    at 2134). Instead, the
                                                                       the panel
                                                                           panel

asked only
asked only whether
           whether butterfly
                   butterfly knives
                             knives are
                                    are "arms."
                                        “arms.” The panel concluded
                                                The panel           that "bladed
                                                          concluded that “bladed

weapons facially
weapons facially constitute
                 constitute ‘arms’ within the
                            `arms' within the meaning
                                              meaning of the Second
                                                      of the        Amendment”
                                                             Second Amendment"

because they
because they are
             are "“ ‘[w]eapons
                    `[w]eapons of
                               of offence’ that may
                                  offence' that may be
                                                    be ‘use[d] in wrath
                                                       `use[d] in wrath to
                                                                        to cast
                                                                           cast at or
                                                                                at or

strike another."
strike another.’ ” Op. 19 (quoting
                   Op. 19 (quoting Heller,
                                   Heller, 554
                                           554 U.S.
                                               U.S. at
                                                    at 582).
                                                       582). Therefore, in the
                                                             Therefore, in the

panel’s view,
panel's view, "the
              “the plain
                   plain text
                         text of the Second
                              of the        Amendment includes
                                     Second Amendment includes bladed
                                                               bladed weapons
                                                                      weapons

and, by
and, by necessity,
        necessity, butterfly
                   butterfly knives"
                             knives” such
                                     such that
                                          that the
                                               the Constitution “ ‘presumptively’ ”
                                                   Constitution "'presumptively"

protects them.
protects them. Op. 19-20 (quoting
               Op. 19-20 (quoting Bruen,
                                  Bruen, 142
                                         142 S.
                                             S. Ct. at 2135).
                                                Ct. at 2135). The
                                                              The panel
                                                                  panel then
                                                                        then

shifted the
shifted the burden
            burden to
                   to Hawai`i
                      Hawai‘i and
                              and concluded that Hawai`i
                                  concluded that Hawai‘i "provide[d]
                                                         “provide[d] no
                                                                     no basis
                                                                        basis for
                                                                              for

concluding that these
concluding that these instruments
                      instruments are not commonly
                                  are not commonly owned
                                                   owned for lawful purposes."
                                                         for lawful purposes.”

Op. 21-22.
Op. 21-22.

      This framework
      This           is wrong
           framework is wrong at
                              at every turn. Whether
                                 every turn. Whether aa weapon
                                                        weapon is
                                                               is commonly
                                                                  commonly

used for
used     self-defense is
     for self-defense    part of
                      is part    the "threshold
                              of the “threshold inquiry"
                                                inquiry” at Bruen’s first
                                                         at Bruen's       step on
                                                                    first step on

which plaintiffs
which plaintiffs bear
                 bear the
                      the burden
                          burden of proof—not the
                                 of proof—not the State. Alaniz, 69
                                                  State. Alaniz,    F.4th at
                                                                 69 F.4th at 1128.
                                                                             1128.

Before the
Before the Second Amendment can
           Second Amendment     “presumptively protect[]"
                            can "presumptively protect[]” aa person's
                                                             person’s conduct,
                                                                      conduct,

the court
the       must first
    court must       determine that
               first determine that "the
                                    “the Second Amendment’s plain
                                         Second Amendment's plain text
                                                                  text covers an
                                                                       covers an



                                           77
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individual’s conduct.”
individual's           Bruen, 142
             conduct." Bruen, 142 S. Ct. at
                                  S. Ct. at 2129-30.
                                            2129-30. As
                                                     As Heller
                                                        Heller made
                                                               made clear, the
                                                                    clear, the

Second Amendment is
Second Amendment    “not aa right
                 is "not          to keep
                            right to keep and
                                          and carry any weapon
                                              carry any weapon whatsoever."
                                                               whatsoever.”

554 U.S. at
554 U.S. at 626. Possession of
            626. Possession of aa weapon
                                  weapon falls within the
                                         falls within the amendment's
                                                          amendment’s scope
                                                                      scope only
                                                                            only

when, among
when, among other things, the
            other things, the weapon
                              weapon at
                                     at issue is "“ ‘in
                                        issue is    `in common use’ today
                                                        common use' today for self-
                                                                          for self-

defense.” Bruen,
defense." Bruen, 142
                 142 S.
                     S. Ct. at 2134.
                        Ct. at 2134. Alaniz
                                     Alaniz squarely
                                            squarely recognized
                                                     recognized this
                                                                this "threshold"
                                                                     “threshold”

aspect of
aspect of the
          the test.
              test. 69 F.4th at
                    69 F.4th    1128; see
                             at 1128; see also
                                          also United States v.
                                               United States    McCartney, 357
                                                             v. McCartney, 357 F.
                                                                               F.

App’x 73,
App'x 73, 76 (9th Cir.
          76 (9th      2009) ("The
                  Cir. 2009) (“The Second Amendment protects
                                   Second Amendment protects only the sorts
                                                             only the sorts of
                                                                            of

weapons in
weapons in common use.” (cleaned
           common use." (cleaned up)).
                                 up)).

      Rather than ask,
      Rather than ask, as Bruen and
                       as Bruen and Alaniz
                                    Alaniz require, whether butterfly
                                           require, whether butterfly knives were
                                                                      knives were

commonly used for
commonly used     self-defense, the
              for self-defense, the panel
                                    panel instead
                                          instead asked whether Hawai
                                                  asked whether Hawai‘i`i had
                                                                          had

proven that
proven that these
            these weapons
                  weapons were
                          were not in common
                               not in        use for
                                      common use     some lawful
                                                 for some        purpose.
                                                          lawful purpose.

Op. 22. According
Op. 22. According to
                  to the
                     the panel,
                         panel, this
                                this question
                                     question implicated whether Hawai‘i
                                              implicated whether         had
                                                                 Hawai`i had

proven that
proven that butterfly
            butterfly knives
                      knives fell
                             fell into the category
                                  into the category of “dangerous and
                                                    of "dangerous and unusual"
                                                                      unusual”

weapons excluded
weapons excluded from the Second
                 from the        Amendment’s coverage
                          Second Amendment's coverage in Heller. Op.
                                                      in Heller.     21-22.
                                                                 Op. 21-22.

This analytical
This            approach is
     analytical approach is both
                            both procedurally
                                 procedurally and substantively flawed.
                                              and substantively flawed.

      Procedurally, the panel
      Procedurally, the panel simply
                              simply skipped
                                     skipped over the plaintiffs'
                                             over the plaintiffs’ burden
                                                                  burden of proving
                                                                         of proving

common use for
common use     self-defense by
           for self-defense by concluding that anything
                               concluding that anything falling within the
                                                        falling within the literal
                                                                           literal

definition of
definition    “arms” is
           of "arms"    “presumptively” protected.
                     is "presumptively" protected. Op.
                                                   Op. 19
                                                       19 (quoting
                                                          (quoting Bruen,
                                                                   Bruen, 142
                                                                          142 S.
                                                                              S.

Ct. at 2135).
Ct. at 2135). The
              The panel
                  panel supported
                        supported its
                                  its conclusion by citing
                                      conclusion by        Heller’s statement
                                                    citing Heller's statement that
                                                                              that

“the Second
"the        Amendment ‘extends,
     Second Amendment           prima facie,
                      `extends, prima        to all
                                      facie, to     instruments that
                                                all instruments that constitute
                                                                     constitute



                                         8
                                         8
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bearable arms,
bearable arms, even those that
               even those that were
                               were not
                                    not in
                                        in existence at the
                                           existence at the time
                                                            time of the founding.’
                                                                 of the founding." ”

Id. (quoting
Id. (quoting Heller,
             Heller, 554 U.S. at
                     554 U.S. at 582).
                                 582). But
                                       But Heller
                                           Heller did
                                                  did not
                                                      not hold
                                                          hold that
                                                               that all “Arms” fall
                                                                    all "Arms" fall

within the
within the "right
           “right to
                  to keep
                     keep and
                          and bear
                              bear Arms."
                                   Arms.” On the contrary,
                                          On the           Heller walked
                                                 contrary, Heller walked through
                                                                         through

the meaning
the meaning of
            of each
               each of the Amendment's
                    of the Amendment’s terms
                                       terms individually
                                             individually before articulating the
                                                          before articulating the

meaning of
meaning    the entire
        of the        “operative clause,”
               entire "operative clause," 554 U.S. at
                                          554 U.S. at 579-595,
                                                      579-595, at which point
                                                               at which point the
                                                                              the

Court stressed that
Court stressed that the
                    the Second Amendment "is
                        Second Amendment “is not
                                             not aa right
                                                    right to
                                                          to keep
                                                             keep and
                                                                  and carry any
                                                                      carry any

weapon whatsoever,"
weapon whatsoever,” id.
                    id. at 626. Handguns
                        at 626. Handguns were
                                         were protected
                                              protected as
                                                        as "the
                                                           “the quintessential
                                                                quintessential

self-defense weapon"
self-defense weapon” "overwhelmingly
                     “overwhelmingly chosen by American
                                     chosen by American society,"
                                                        society,” id.
                                                                  id. at 628-
                                                                      at 628-

629—not merely
629—not merely because
               because they
                       they are
                            are "bearable
                                “bearable arms,"
                                          arms,” id. at 582.
                                                 id. at 582. Plaintiffs
                                                             Plaintiffs are not
                                                                        are not

relieved of
relieved    their threshold
         of their threshold burden
                            burden under
                                   under Bruen
                                         Bruen and
                                               and Alaniz
                                                   Alaniz merely
                                                          merely because
                                                                 because the
                                                                         the State
                                                                             State

also argues
also argues that
            that aa weapon
                    weapon is
                           is "dangerous
                              “dangerous and
                                         and unusual."
                                             unusual.”

      Substantively, the panel
      Substantively, the panel was
                               was wrong
                                   wrong to
                                         to suggest
                                            suggest that
                                                    that common possession for
                                                         common possession for

any "lawful
any “lawful purpose"
            purpose” would
                     would bring
                           bring aa weapon
                                    weapon within
                                           within the
                                                  the Second Amendment’s
                                                      Second Amendment's

scope. The
scope. The panel
           panel relied
                 relied on this Court's
                        on this Court’s pre-Bruen
                                        pre-Bruen case Fyock v.
                                                  case Fyock    Sunnyvale, which
                                                             v. Sunnyvale, which

said that
said that "the
          “the Second Amendment does
               Second Amendment does not
                                     not ‘protect those weapons
                                         `protect those weapons not
                                                                not typically
                                                                    typically

possessed by
possessed by law-abiding
             law-abiding citizens
                         citizens for
                                  for lawful purposes.’ ” 779
                                      lawful purposes."       F.3d 991,
                                                          779 F.3d 991, 996-997
                                                                        996-997

(9th Cir.
(9th      2015) (quoting
     Cir. 2015) (quoting Heller,
                         Heller, 554 U.S. at
                                 554 U.S. at 625).
                                             625). But
                                                   But Fyock
                                                       Fyock did
                                                             did not
                                                                 not specify
                                                                     specify which
                                                                             which

lawful purposes
lawful purposes were
                were relevant,
                     relevant, id.
                               id. at
                                   at 997-998, and Heller
                                      997-998, and Heller discussed
                                                          discussed "lawful
                                                                    “lawful

purposes” in
purposes" in the
             the context
                 context of “self-defense,” 554
                         of "self-defense,"     U.S. at
                                            554 U.S.    624; see
                                                     at 624; see McDonald,
                                                                 McDonald, 561
                                                                           561

U.S. at
U.S. at 768 (discussing "the
        768 (discussing “the core lawful purpose
                             core lawful purpose of self-defense” (quotation
                                                 of self-defense" (quotation marks
                                                                             marks



                                          9
                                          9
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omitted)). In any
omitted)). In any event, Bruen and
                  event, Bruen and Alaniz
                                   Alaniz subsequently
                                          subsequently clarified that the
                                                       clarified that the critical
                                                                          critical

question is
question    “whether the
         is "whether the weapon
                         weapon at issue is
                                at issue is ‘in
                                            `in common use today
                                                common use today for
                                                                  for self-
                                                                      self-

defense.’ ” Alaniz,
defense."   Alaniz, 69
                    69 F.4th
                       F.4th at
                             at 1128
                                1128 (quoting
                                     (quoting Bruen,
                                              Bruen, 142
                                                     142 S. Ct. at
                                                         S. Ct. at 2134)
                                                                   2134) (emphasis
                                                                         (emphasis

added).
added).

      The panel's
      The panel’s distorted
                  distorted test
                            test means
                                 means it never even
                                       it never even considered whether
                                                     considered whether

affirmative evidence
affirmative evidence established that butterfly
                     established that butterfly knives
                                                knives are
                                                       are commonly used for
                                                           commonly used     self-
                                                                         for self-

defense. See
defense. See Op.
             Op. 19-22.
                 19-22. Indeed,
                        Indeed, the
                                the panel
                                    panel mentioned
                                          mentioned self-defense
                                                    self-defense only to claim
                                                                 only to claim

that "Hawaii's
that “Hawaii’s own
               own witness
                   witness conceded that butterfly
                           conceded that butterfly knives
                                                   knives may
                                                          may be
                                                              be used
                                                                 used for self-
                                                                      for self-

defense.” Op.
defense."     22. The
          Op. 22.     key word,
                  The key word, however,
                                however, is “may”—the panel
                                         is "may"—the panel never
                                                            never considered
                                                                  considered

whether butterfly
whether butterfly knives
                  knives are
                         are in  fact commonly
                             in fact           used for
                                      commonly used     self-defense. Virtually
                                                    for self-defense. Virtually

“any hard
"any hard object
          object can be used
                 can be used as
                             as aa weapon,
                                   weapon, but
                                           but it
                                               it would
                                                  would be
                                                        be absurd
                                                           absurd to
                                                                  to give
                                                                     give every
                                                                          every

knife, pitchfork,
knife, pitchfork, rake, brick or
                  rake, brick or other
                                 other object
                                       object conceivably
                                              conceivably employable
                                                          employable for personal
                                                                     for personal

defense constitutional
defense                protection.” City
        constitutional protection."      of Seattle
                                    City of Seattle v. Evans, 366
                                                    v. Evans, 366 P.3d
                                                                  P.3d 906,
                                                                       906, 914
                                                                            914

(Wash. 2015)
(Wash. 2015) (quotation
             (quotation marks
                        marks omitted).
                              omitted).

      In fact,
      In       nothing in
         fact, nothing in the
                          the record
                              record indicates that butterfly
                                     indicates that butterfly knives are common,
                                                              knives are common,

much less
much less commonly used for
          commonly used     self-defense. The
                        for self-defense. The District
                                              District Court
                                                       Court explained the
                                                             explained the

record contained
record           no "evidence
       contained no “evidence about
                              about the
                                    the popularity
                                        popularity of butterfly knives,
                                                   of butterfly knives, including
                                                                        including

to what
to what extent they are
        extent they are possessed
                        possessed on
                                  on aa national
                                        national scale"
                                                 scale” and
                                                        and included
                                                            included only “some,
                                                                     only "some,

mostly anecdotal,
mostly anecdotal, evidence that butterfly
                  evidence that butterfly knives
                                          knives are
                                                 are quite
                                                     quite popular
                                                           popular in
                                                                   in certain
                                                                      certain

villages in
villages in the
            the Philippines.”
                Philippines." ER-9-10. That anecdotal
                              ER-9-10. That anecdotal evidence
                                                      evidence came
                                                               came from
                                                                    from



                                         10
                                         10
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Plaintiffs’
Plaintiffs' expert, who relied
            expert, who relied on hearsay involving
                               on hearsay involving aa 1982
                                                       1982 incident
                                                            incident where
                                                                     where Filipino
                                                                           Filipino

teenagers "pulled
teenagers “pulled their
                  their balisongs"
                        balisongs” to
                                   to scare
                                      scare off bullies, and
                                            off bullies, and aa single
                                                                single conversation
                                                                       conversation

with aa waitress
with    waitress in the Philippines.
                 in the Philippines. ER-131-132. The same
                                     ER-131-132. The same witness
                                                          witness conceded that
                                                                  conceded that

butterfly knives
butterfly        require "a
          knives require “a very
                            very precarious
                                 precarious grip
                                            grip in
                                                 in aa chaotic self-defense situation
                                                       chaotic self-defense situation

which leaves
which        the defender
      leaves the defender susceptible
                          susceptible to
                                      to dropping
                                         dropping the
                                                  the knife.”
                                                      knife." ER-132.
                                                              ER-132.

      Even
      Even if the Second
           if the        Amendment covers
                  Second Amendment        lawful purposes
                                   covers lawful purposes beyond
                                                          beyond self-defense,
                                                                 self-defense,

it cannot
it cannot extend to any
          extend to any lawful
                        lawful purpose.
                               purpose. Rather,
                                        Rather, any
                                                any other purposes must
                                                    other purposes must similarly
                                                                        similarly

be "deeply
be “deeply rooted
           rooted in
                  in this
                     this Nation's
                          Nation’s history
                                   history and tradition,” which
                                           and tradition," which determine
                                                                 determine the
                                                                           the

scope of
scope of the
         the right.
             right. McDonald,
                    McDonald, 561 U.S. at
                              561 U.S. at 768 (quotation marks
                                          768 (quotation marks omitted). No
                                                               omitted). No

matter how
matter how defined,
           defined, that
                    that cannot include using
                         cannot include using butterfly
                                              butterfly knives
                                                        knives in
                                                               in Escrima,
                                                                  Escrima, aa form
                                                                              form

of martial arts
of martial      practiced primarily
           arts practiced primarily in
                                    in the
                                       the Philippines,
                                           Philippines, as the panel
                                                        as the panel concluded here.
                                                                     concluded here.

Op. 22.
Op. 22.

      Even assuming the
      Even assuming the question is "whether
                        question is “whether butterfly
                                             butterfly knives
                                                       knives are
                                                              are commonly
                                                                  commonly

owned
owned for [any] lawful
      for [any]        purposes,” the
                lawful purposes," the panel's
                                      panel’s conclusion that there
                                              conclusion that there "is
                                                                    “is no
                                                                        no genuine
                                                                           genuine

issue of
issue    material fact”
      of material       is untenable.
                  fact" is untenable. Id.
                                      Id. It
                                          It is
                                             is infected
                                                infected with
                                                         with the
                                                              the panel's
                                                                  panel’s procedural
                                                                          procedural

error
error of
      of assigning Hawai‘i the
         assigning Hawai`i the burden
                               burden of
                                      of proof,
                                         proof, see
                                                see supra
                                                    supra pp.
                                                          pp. 7-9, and is
                                                              7-9, and    simply
                                                                       is simply

wrong. As
wrong. As Hawai`i
          Hawai‘i explained supra p.
                  explained supra p. 10,
                                     10, the
                                         the panel's
                                             panel’s suggestion
                                                     suggestion that
                                                                that butterfly
                                                                     butterfly

knives "may"
knives “may” be
             be used
                used for self-defense refers
                     for self-defense        to no
                                      refers to no evidence of actual
                                                   evidence of actual use
                                                                      use for self-
                                                                          for self-

defense. Similarly,
defense.            there is
         Similarly, there    no record
                          is no record evidence that butterfly
                                       evidence that butterfly knives
                                                               knives are
                                                                      are commonly
                                                                          commonly

used in
used    Filipino martial
     in Filipino martial arts
                         arts today.
                              today. Not
                                     Not even
                                         even Plaintiffs asserted that
                                              Plaintiffs asserted that they
                                                                       they sought
                                                                            sought to
                                                                                   to



                                          11
                                          11
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use butterfly
use butterfly knives
              knives for that purpose.
                     for that purpose. ER-137-140. The panel
                                       ER-137-140. The panel relied
                                                             relied on personal
                                                                    on personal

testimony in
testimony in the
             the legislative history, Op.
                 legislative history, Op. 22,
                                          22, but
                                              but conclusory statements from
                                                  conclusory statements      two
                                                                        from two

people in
people    1999 are
       in 1999 are insufficient
                   insufficient evidence
                                evidence of “common use"
                                         of "common use” for
                                                         for Plaintiffs to survive
                                                             Plaintiffs to survive

summary judgment.
summary judgment. ER-82-84. At minimum,
                  ER-82-84. At minimum, there
                                        there was
                                              was aa genuine
                                                     genuine fact question
                                                             fact question

given evidence
given evidence in the same
               in the same legislative
                           legislative history
                                       history that
                                               that butterfly
                                                    butterfly knives
                                                              knives were
                                                                     were

overwhelmingly used for
overwhelmingly used for criminal purposes and
                        criminal purposes     gang activity,
                                          and gang activity, not “lawful”
                                                             not "lawful"

purposes. ER-85-87;
purposes. ER-85-87; SER-24-26,
                    SER-24-26, SER-39-41,
                               SER-39-41, SER-47-49,
                                          SER-47-49, SER-59-60.
                                                     SER-59-60.

      2. The
      2. The panel
             panel also
                   also fundamentally misunderstood the
                        fundamentally misunderstood the historical
                                                        historical analysis
                                                                   analysis

required at
required at Bruen's
            Bruen’s second
                    second step.
                           step. Relevant
                                 Relevant analogues
                                          analogues are determined by
                                                    are determined by looking
                                                                      looking at
                                                                              at

“how and
"how     why” the
     and why" the regulations
                  regulations at
                              at issue
                                 issue impose
                                       impose aa "burden"
                                                 “burden” on “a law-abiding
                                                          on "a law-abiding

citizen’s
citizen's right
          right to armed self-defense."
                to armed self-defense.” Bruen,
                                        Bruen, 142
                                               142 S.
                                                   S. Ct.
                                                      Ct. at 2133 (emphasis
                                                          at 2133 (emphasis added).
                                                                            added).

The panel,
The panel, however,
           however, artificially
                    artificially narrowed
                                 narrowed its inquiry to
                                          its inquiry to whether
                                                         whether precisely
                                                                 precisely the
                                                                           the same
                                                                               same

kind of
kind    regulation had
     of regulation had been
                       been applied to aa physically
                            applied to    physically similar
                                                     similar kind
                                                             kind of
                                                                  of knife. See
                                                                     knife. See

Op. 28. Thus,
Op. 28. Thus, although the panel
              although the panel gave
                                 gave lip service to
                                      lip service to the
                                                     the Supreme Court’s direction
                                                         Supreme Court's direction

that aa historical
that    historical twin
                   twin is
                        is unnecessary,
                           unnecessary, Op. 23, that
                                        Op. 23, that is in fact
                                                     is in      what the
                                                           fact what the panel
                                                                         panel

demanded.
demanded.

      By failing
      By         to examine
         failing to         the burden
                    examine the burden on “armed self-defense,"
                                       on "armed self-defense,” the
                                                                the panel
                                                                    panel

dismissed without
dismissed without further analysis numerous
                  further analysis numerous salient
                                            salient regulations.
                                                    regulations. For
                                                                 For instance, the
                                                                     instance, the

panel dismissed
panel dismissed laws
                laws that
                     that "regulated
                          “regulated only the[] carry,"
                                     only the[  carry,” manufacture,
                                                        manufacture, or sale of
                                                                     or sale of

weapons like
weapons like Bowie
             Bowie knives, slung shots,
                   knives, slung shots, dirks,
                                        dirks, and daggers because
                                               and daggers because they
                                                                   they did
                                                                        did not
                                                                            not



                                           12
                                           12
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strictly ban
strictly ban all
             all possession
                 possession of those weapons.
                            of those weapons. Op. 24.2 But
                                              Op. 24.2     the panel
                                                       But the panel never
                                                                     never

considered whether the
considered whether the burden
                       burden on making, selling,
                              on making, selling, or publicly carrying
                                                  or publicly carrying aa particular
                                                                          particular

subspecies of
subspecies    weapon was
           of weapon was meaningfully
                         meaningfully different
                                      different from the perspective
                                                from the perspective of
                                                                     of self-
                                                                        self-

defense. See
defense. See Oregon Firearms Fed'n
             Oregon Firearms Fed’n v. Kotek, __ F.
                                   v. Kotek,    F. Supp. 3d __,, 2023
                                                   Supp. 3d      2023 WL
                                                                      WL

4541027, at
4541027, at *39-44 (D. Or.
            *39-44 (D.     July 14,
                       Or. July 14, 2023)
                                    2023) (properly
                                          (properly analyzing the "burden
                                                    analyzing the “burden on the
                                                                          on the

right to
right to armed
         armed self-defense"
               self-defense” of same statutes).
                             of same statutes). Similarly, the panel
                                                Similarly, the panel rejected
                                                                     rejected

historical regulations
historical regulations that
                       that outright banned possession
                            outright banned possession of the same
                                                       of the      weapons,3
                                                              same weapons,3

because it
because it did
           did not
               not subjectively
                   subjectively believe
                                believe those
                                        those weapons
                                              weapons to
                                                      to be
                                                         be physically
                                                            physically similar
                                                                       similar

enough to butterfly
enough to butterfly knives.
                    knives. See
                            See Op.
                                Op. 28.
                                    28. But
                                        But the
                                            the panel
                                                panel did
                                                      did not
                                                          not consider whether
                                                              consider whether

those weapons,
those weapons, historically,
               historically, played
                             played aa role in armed
                                       role in armed self-defense
                                                     self-defense comparable to the
                                                                  comparable to the

butterfly knife
butterfly       today, which
          knife today, which is
                             is the
                                the relevant question under
                                    relevant question under Bruen.
                                                            Bruen. See
                                                                   See Kotek,
                                                                       Kotek, 2023
                                                                              2023

WL 4541027,
WL 4541027, at
            at *39-44.
               *39-44.




2
 See, e.g., A015-A016 (Tennessee, 1838); A018 (Virginia, 1838); A021
2 See, e.g., A015-A016 (Tennessee, 1838); A018 (Virginia, 1838); A021
(Alabama, 1839);
(Alabama,   1839); A082
                   A082 (North
                         (North Carolina, 1879); A028
                                Carolina, 1879); A028 (Louisiana,
                                                       (Louisiana, 1855);
                                                                   1855); A067
                                                                           A067
(West Virginia,
(West  Virginia, 1873);
                 1873); A091
                        A091 (Maryland,
                             (Maryland, 1886);
                                          1886); A097-A098
                                                 A097-A098 (Rhode
                                                             (Rhode Island,
                                                                      Island, 1893);
                                                                              1893);
B016 (Vermont,
B016  (Vermont, 1849);
                  1849); B018 (Massachusetts, 1850);
                         B018 (Massachusetts,  1850); B041
                                                      B041 (Florida,
                                                            (Florida, 1868);
                                                                      1868); B050-
                                                                              B050-
B051 (Alabama,
B051  (Alabama, 1873);
                  1873); B060 (Pennsylvania, 1875);
                         B060 (Pennsylvania,  1875); B069-B070
                                                     B069-B070 (Illinois,
                                                                 (Illinois, 1879);
                                                                            1879);
B074-B075 (Tennessee,
B074-B075    (Tennessee, 1879);
                         1879); B077-B078
                                B077-B078 (South
                                            (South Carolina,
                                                   Carolina, 1880);
                                                             1880); B088
                                                                     B088
(Virginia, 1884);
(Virginia, 1884); B090  (Oregon, 1885);
                  B090 (Oregon,  1885); B094   (Michigan, 1887);
                                        B094 (Michigan,   1887); B096    (Oklahoma,
                                                                 B096 (Oklahoma,
1890).
1890).
3
 See, e.g., A003-A005 (Georgia, 1837); B014 (New York, 1849); B035-B036
3 See, e.g., A003-A005 (Georgia, 1837); B014 (New York, 1849); B035-B036
(New York,
(New  York, 1866);
             1866); B080
                    B080 (Illinois,
                         (Illinois, 1881);
                                    1881); B106 (California, 1917);
                                           B106 (California, 1917); B109
                                                                    B109
(Minnesota, 1917).
(Minnesota,  1917).

                                         13
                                         13
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      The panel's
      The panel’s focus on its
                  focus on its perception
                               perception of the physical
                                          of the physical characteristics
                                                          characteristics of
                                                                          of

butterfly knives
butterfly        also led
          knives also led the
                          the panel
                              panel to
                                    to fail to appropriately
                                       fail to               weigh "why"
                                               appropriately weigh “why” Hawai`i's
                                                                         Hawai‘i’s

cited analogues regulated
cited analogues regulated weapons.
                          weapons. Bruen,
                                   Bruen, 142
                                          142 S. Ct. at
                                              S. Ct. at 2133.
                                                        2133. Hawai`i
                                                              Hawai‘i offered
                                                                      offered

evidence that butterfly
evidence that butterfly knives were singled
                        knives were singled out
                                            out for regulation precisely
                                                for regulation precisely because
                                                                         because

they were
they were closely associated with
          closely associated with criminal
                                  criminal activity
                                           activity and had become
                                                    and had become aa favorite
                                                                      favorite

weapon of
weapon    gangs, including
       of gangs, including juveniles.
                           juveniles. See,
                                      See, e.g.,
                                           e.g., SER-24,
                                                 SER-24, SER-37. And the
                                                         SER-37. And the panel
                                                                         panel

did not
did not dispute
        dispute Hawai‘i’s argument that
                Hawai`i's argument that Bowie knives, slung
                                        Bowie knives, slung shots,
                                                            shots, dirks,
                                                                   dirks, and
                                                                          and

daggers were
daggers were historically
             historically regulated
                          regulated for precisely the
                                    for precisely the same
                                                      same reason.
                                                           reason. See
                                                                   See Bevis
                                                                       Bevis v.
                                                                             v. City
                                                                                City

of Naperville,
of Naperville, __ F.
                  F. Supp. 3d __,, 2023
                     Supp. 3d      2023 WL
                                        WL 2077392,
                                           2077392, at
                                                    at *1044
                                                       *10-14 (N.D.
                                                              (N.D. Ill.
                                                                    Ill. Feb.
                                                                         Feb. 17,
                                                                              17,

2023) (chronicling
2023) (chronicling such
                   such "Maws
                        “[l]aws regulating
                                regulating melee
                                           melee weapons").
                                                 weapons”). Under
                                                            Under the
                                                                  the panel's
                                                                      panel’s

approach, aa weapon's
approach,    weapon’s cultural
                      cultural characteristics and actual
                               characteristics and actual use
                                                          use patterns
                                                              patterns are
                                                                       are irrelevant
                                                                           irrelevant

to the
to the historical
       historical inquiry—counter to the
                  inquiry—counter to the Supreme
                                         Supreme Court’s
                                                 Court's clear
                                                         clear instruction to
                                                               instruction to

consider “why” regulations
consider "why" regulations burden
                           burden self-defense.
                                  self-defense. Bruen,
                                                Bruen, 142
                                                       142 S. Ct. at
                                                           S. Ct. at 2133.
                                                                     2133.

      The Supreme
      The Supreme Court’s method of
                  Court's method of historical
                                    historical reasoning in Heller
                                               reasoning in Heller stands
                                                                   stands in
                                                                          in stark
                                                                             stark

contrast to the
contrast to the panel's
                panel’s approach.
                        approach. There,
                                  There, in
                                         in the
                                            the course of recognizing
                                                course of recognizing that
                                                                      that

“dangerous and
"dangerous     unusual” weapons
           and unusual" weapons fall
                                fall outside the Second
                                     outside the        Amendment, the
                                                 Second Amendment, the Court
                                                                       Court

relied on
relied on "the
          “the historical
               historical tradition
                          tradition of prohibiting the
                                    of prohibiting the carrying
                                                       carrying of
                                                                of"” such
                                                                     such weapons
                                                                          weapons to
                                                                                  to

identify aa limit
identify          “on the
            limit "on the right
                          right to"
                                to” both
                                    both "keep
                                         “keep and
                                               and carry
                                                   carry arms.” Heller, 554
                                                         arms." Heller,     U.S. at
                                                                        554 U.S. at




                                         14
                                         14
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627 (emphases
627           added).44 The
    (emphases added).   The sources
                            sources Heller
                                    Heller cited to support
                                           cited to support this
                                                            this "historical
                                                                 “historical

tradition” collected
tradition"           prohibitions on
           collected prohibitions    “going armed"
                                  on "going armed ” with
                                                    with dangerous
                                                         dangerous and
                                                                   and unusual
                                                                       unusual

weapons, not
weapons, not merely
             merely possessing
                    possessing them.
                               them. See,
                                     See, e.g.,
                                          e.g., 4
                                                4 William
                                                  William Blackstone,
                                                          Blackstone,

Commentaries on the
Commentaries on     Laws of
                the Laws of England
                            England 148-149
                                    148-149 (1769);
                                            (1769); Heller,
                                                    Heller, 554 U.S. at
                                                            554 U.S. at 627
                                                                        627

(collecting similarly
(collecting similarly worded
                      worded provisions).
                             provisions). Nevertheless,
                                          Nevertheless, the
                                                        the Court
                                                            Court recognized that
                                                                  recognized that

dangerous and
dangerous and unusual
              unusual weapons
                      weapons could be "banned"
                              could be “banned” given
                                                given this
                                                      this historical
                                                           historical tradition.
                                                                      tradition.

Heller, 554
Heller, 554 U.S.
            U.S. at
                 at 627. And although
                    627. And although Bruen
                                      Bruen rejected
                                            rejected concealed-carry bans as
                                                     concealed-carry bans as

insufficiently analogous
insufficiently analogous to
                         to laws
                            laws prohibiting
                                 prohibiting public
                                             public carry,
                                                    carry, it did so
                                                           it did so because
                                                                     because the
                                                                             the

prohibition extended
prohibition          to "all
            extended to “all public
                             public carry” of handguns—the
                                    carry" of              most important
                                              handguns—the most important self-
                                                                          self-

defense weapon.
defense weapon. 142
                142 S. Ct. at
                    S. Ct. at 2155
                              2155 (emphasis
                                   (emphasis omitted). Bruen did
                                             omitted). Bruen did not
                                                                 not undermine
                                                                     undermine

Heller’s teaching
Heller's teaching that
                  that prohibitions
                       prohibitions on
                                    on carrying weapons are
                                       carrying weapons are relevant when
                                                            relevant when

analyzing bans
analyzing bans on narrower categories
               on narrower categories of weapons, 142
                                      of weapons, 142 S.
                                                      S. Ct. at 2133—
                                                         Ct. at 2133—

particularly weapons,
particularly weapons, like butterfly knives,
                      like butterfly         designed to
                                     knives, designed to be
                                                         be "easy
                                                            “easy to
                                                                  to conceal.”
                                                                     conceal." ER-7
                                                                               ER-7

(quotation marks
(quotation marks omitted).
                 omitted).

      The panel's
      The panel’s analysis
                  analysis was
                           was all the more
                               all the more misguided
                                            misguided because
                                                      because it
                                                              it rested
                                                                 rested on
                                                                        on

appellate factfinding
appellate             that "[t]he
          factfinding that “[t]he butterfly
                                  butterfly knife
                                            knife is
                                                  is clearly more analogous
                                                     clearly more analogous to
                                                                            to an
                                                                               an

ordinary pocketknife than
ordinary pocketknife than to
                          to an Arkansas Toothpick
                             an Arkansas Toothpick or
                                                   or aa bowie
                                                         bowie knife.” Op. 28.
                                                               knife." Op. 28.



4
 The “dangerous and unusual” inquiry properly looks not to historical weapons,
4 The "dangerous and unusual" inquiry properly looks not to historical weapons,
but to
but to aa weapon's
          weapon’s status
                     status today.
                            today. Indeed,   Heller’s example
                                     Indeed, Heller's example of
                                                               of aa "dangerous
                                                                     “dangerous and
                                                                                and
unusual” weapon
unusual"   weapon that
                    that "may
                         “may be be banned"
                                    banned” was
                                             was the
                                                 the quintessentially
                                                      quintessentially modem
                                                                       modern M-16
                                                                              M-16
automatic rifle.
automatic   rifle. 554
                   554 U.S.
                        U.S. at
                              at 627.
                                 627.

                                         15
                                         15
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The panel
The panel cited no record
          cited no record support
                          support for its ipse
                                  for its ipse dixit, which was
                                               dixit, which was inappropriate
                                                                inappropriate given
                                                                              given

the summary-judgment
the summary-judgment posture—where
                     posture—where Hawai`i
                                   Hawai‘i was
                                           was entitled to all
                                               entitled to all reasonable
                                                               reasonable

factual
factual inferences—and the District
        inferences—and the District Court's
                                    Court’s primary
                                            primary factfinding
                                                    factfinding role. The panel
                                                                role. The panel

also drew
also drew the
          the wrong
              wrong conclusion
                    conclusion from its unsupported
                               from its unsupported determination
                                                    determination that
                                                                  that butterfly
                                                                       butterfly

knives most
knives most resemble pocketknives. Even
            resemble pocketknives.      if true
                                   Even if true (which
                                                (which it
                                                       it is not), this
                                                          is not), this would
                                                                        would just
                                                                              just

underscore the
underscore the limited burden Hawai`i's
               limited burden Hawai‘i’s regulation
                                        regulation places
                                                   places on “armed self-
                                                          on "armed self-

defense.” By
defense." By failing to analyze
             failing to analyze that
                                that issue, the panel
                                     issue, the panel disregarded
                                                      disregarded Bruen.
                                                                  Bruen.

      As the
      As the panel's
             panel’s questionable pocketknife comparison
                     questionable pocketknife            demonstrates, Bruen's
                                              comparison demonstrates, Bruen’s

historical test
historical test involves questions about
                involves questions about what
                                         what relationship
                                              relationship certain weapons
                                                           certain weapons

historically bore
historically bore to
                  to "armed
                     “armed self-defense"
                            self-defense” and
                                          and why
                                              why certain weapons were
                                                  certain weapons were regulated
                                                                       regulated

differently. The
differently. The inquiry
                 inquiry is not simply
                         is not simply aa matter
                                          matter of tallying up
                                                 of tallying up statutes
                                                                statutes and
                                                                         and reading
                                                                             reading

the plain
the plain text
          text of
               of those
                  those statutes
                        statutes in
                                 in isolation,
                                    isolation, see
                                               see Op.
                                                   Op. 14-15—or
                                                       14-15—or of simply asserting
                                                                of simply asserting

that butterfly
that butterfly knives
               knives are
                      are more
                          more like
                               like pocketknives
                                    pocketknives than
                                                 than historical
                                                      historical Bowie knives.
                                                                 Bowie knives.

Expert witnesses can
Expert witnesses     and should
                 can and should provide
                                provide crucial
                                        crucial context
                                                context regarding the historical
                                                        regarding the historical

record in
record in performing
          performing aa Bruen
                        Bruen analysis. See, e.g.,
                              analysis. See, e.g., Kotek,
                                                   Kotek, 2023
                                                          2023 WL
                                                               WL 4541027,
                                                                  4541027, at
                                                                           at *3,
                                                                              *3,

*15-46 (relying extensively
*15-46 (relying extensively on such testimony).
                            on such testimony). Likewise, whether aa modern
                                                Likewise, whether    modern

butterfly knife
butterfly       is more
          knife is more like
                        like aa pocketknife
                                pocketknife or
                                            or aa historical
                                                  historical Bowie
                                                             Bowie knife is just
                                                                   knife is just the
                                                                                 the sort
                                                                                     sort

of
of fine-grained
   fine-grained factual determination that
                factual determination that should
                                           should be
                                                  be made
                                                     made in
                                                          in the
                                                             the district
                                                                 district court in the
                                                                          court in the

first instance—where evidence
first instance—where evidence can be heard,
                              can be heard, testimony
                                            testimony taken,
                                                      taken, and
                                                             and expert
                                                                 expert opinions
                                                                        opinions

considered.
considered.



                                           16
                                           16
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      Accordingly, although
      Accordingly, although the
                            the Court should in
                                Court should    all events
                                             in all        grant rehearing
                                                    events grant rehearing to
                                                                           to

correct the panel's
correct the panel’s legal
                    legal errors, it should
                          errors, it should at
                                            at aa minimum
                                                  minimum vacate
                                                          vacate and
                                                                 and remand
                                                                     remand for the
                                                                            for the

District Court
District       to analyze
         Court to         the challenged
                  analyze the            law under
                              challenged law under Bruen's
                                                   Bruen’s framework
                                                           framework in the first
                                                                     in the first

instance. That
instance. That would
               would be
                     be consistent with the
                        consistent with the "standard
                                            “standard practice"
                                                      practice” this
                                                                this Court
                                                                     Court applies
                                                                           applies

“[w]hen .. .. .. applying
"[w]hen          applying aa new
                             new legal principle.” Clark
                                 legal principle." Clark v.
                                                         v. Chappell,
                                                            Chappell, 936 F.3d 944,
                                                                      936 F.3d      971
                                                                               944, 971

(9th Cir.
(9th      2019) (quotation
     Cir. 2019) (quotation marks
                           marks omitted); see Detrich
                                 omitted); see Detrich v. Ryan, 740
                                                       v. Ryan,     F.3d 1237,
                                                                740 F.3d 1237,

1248-49 (9th
1248-49 (9th Cir. 2013) (en
             Cir. 2013) (en banc)
                            banc) (plurality)
                                  (plurality) ("[O]ur
                                              (“[O]ur general
                                                      general assumption
                                                              assumption is
                                                                         is that
                                                                            that we
                                                                                 we

operate more effectively
operate more             as aa reviewing
             effectively as    reviewing court than as
                                         court than as aa court of first
                                                          court of       instance.”).
                                                                   first instance.").

And it
And it would
       would be
             be consistent with this
                consistent with this Court’s remand of
                                     Court's remand    pre-Bruen cases
                                                    of pre-Bruen       that, like
                                                                 cases that, like

this one,
this      were pending
     one, were pending on appeal when
                       on appeal when Bruen
                                      Bruen was
                                            was decided.
                                                decided. See,
                                                         See, e.g.,
                                                              e.g., Duncan
                                                                    Duncan v.
                                                                           v.

Bonta, 49
Bonta, 49 F.4th
          F.4th 1228
                1228 (9th
                     (9th Cir. 2022) (en
                          Cir. 2022) (en banc);
                                         banc); Jones
                                                Jones v. Bonta, 47
                                                      v. Bonta, 47 F.4th
                                                                   F.4th 1124
                                                                         1124 (9th
                                                                              (9th

Cir. 2022); Young
Cir. 2022); Young v. Hawaii, 45
                  v. Hawaii, 45 F.4th
                                F.4th 1087
                                      1087 (9th
                                           (9th Cir. 2022) (en
                                                Cir. 2022) (en banc).
                                                               banc).

II.
II.   THE
      THE PANEL DECISION CONTRIBUTES
          PANEL DECISION CONTRIBUTES TO A DIVISION
                                     TO A DIVISION OF
                                                   OF
      AUTHORITY ON
      AUTHORITY     AN EXCEPTIONALLY
                 ON AN               IMPORTANT ISSUE.
                       EXCEPTIONALLY IMPORTANT   ISSUE.

      This case
      This      also warrants
           case also warrants rehearing
                              rehearing because
                                        because it
                                                it is
                                                   is exceptionally important. The
                                                      exceptionally important. The

panel’s distortion
panel's distortion of Bruen’s framework
                   of Bruen's           will have
                              framework will have far-reaching
                                                  far-reaching consequences
                                                               consequences on
                                                                            on

the sovereign
the sovereign power
              power of
                    of States and local
                       States and       governments to
                                  local governments to prevent
                                                       prevent violence.
                                                               violence. By
                                                                         By

eliminating the nexus
eliminating the nexus between
                      between the
                              the Second Amendment and
                                  Second Amendment     self-defense, the
                                                   and self-defense, the panel
                                                                         panel

effectively
effectively found
            found aa constitutional
                     constitutional right to aa plaintiff's
                                    right to    plaintiff ’s weapon
                                                             weapon of
                                                                    of choice.
                                                                       choice.

      The panel's
      The panel’s ruling
                  ruling is
                         is also
                            also out
                                 out of step with
                                     of step with multiple
                                                  multiple district
                                                           district courts within this
                                                                    courts within this

Circuit that have
Circuit that have rejected
                  rejected Second Amendment challenges
                           Second Amendment challenges at Bruen’s first
                                                       at Bruen's       step
                                                                  first step


                                           17
                                           17
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because the
because the challenger
            challenger failed to demonstrate
                       failed to demonstrate the
                                             the weapon
                                                 weapon at issue was
                                                        at issue was commonly
                                                                     commonly

used for
used     self-defense. See
     for self-defense. See Kotek,
                           Kotek, 2023
                                  2023 WL
                                       WL 4541027,
                                          4541027, at
                                                   at *5,
                                                      *5, *32 (large capacity
                                                          *32 (large capacity

magazines); Cupp
magazines); Cupp v. Harris, No.
                 v. Harris, No. 2:16-CV-00523-TLN-KJN,
                                2:16-CV-00523-TLN-KJN, 2023
                                                       2023 WL
                                                            WL 5488420,
                                                               5488420, at
                                                                        at

*3,
*3, *6-7 (E.D. Cal.
    *6-7 (E.D.      Aug. 24,
               Cal. Aug. 24, 2023)
                             2023) (slung
                                   (slung shots);
                                          shots); Cox
                                                  Cox v.
                                                      v. United States, No.
                                                         United States, No. CR
                                                                            CR 11-
                                                                               11-

00022-RJB, 2023 WL
00022-RJB, 2023 WL 4203261,
                   4203261, at
                            at *7-8 (D. Alaska
                               *7-8 (D. Alaska June 27, 2023)
                                               June 27, 2023) (machinegun
                                                              (machinegun

and silencer);
and silencer); United States v.
               United States    Kittson, No.
                             v. Kittson, No. 3:21-CR-00075-IM,
                                             3:21-CR-00075-IM, 2023
                                                               2023 WL
                                                                    WL

5015812, at *1
5015812, at    (D. Or.
            *1 (D.     Aug. 7,
                   Or. Aug.    2023) (machineguns).
                            7, 2023) (machineguns).

      The panel's
      The panel’s opinion
                  opinion also
                          also makes
                               makes this
                                     this Court
                                          Court the
                                                the first Circuit to
                                                    first Circuit to strike
                                                                     strike down
                                                                            down aa

ban on
ban on aa particular
          particular category
                     category of weapon after
                              of weapon after Bruen.
                                              Bruen. Doing so puts
                                                     Doing so puts it
                                                                   it out
                                                                      out of sync
                                                                          of sync

with aa growing
with    growing consensus among district
                consensus among district courts around the
                                         courts around the country, which have
                                                           country, which have

sustained particular
sustained particular weapons
                     weapons bans
                             bans using
                                  using the
                                        the analytical approach in
                                            analytical approach in Bruen
                                                                   Bruen that
                                                                         that the
                                                                              the

panel failed
panel        to follow.
      failed to         See, e.g.,
                follow. See, e.g., Ocean State Tactical,
                                   Ocean State           LLC v.
                                               Tactical, LLC    Rhode Island,
                                                             v. Rhode Island, __ F.
                                                                                 F.

Supp. 3d __,, 2022
Supp. 3d      2022 WL
                   WL 17721175,
                      17721175, at
                                at *1446
                                   *14-16 (D.R.I.
                                          (D.R.I. Dec. 14, 2022)
                                                  Dec. 14, 2022) (considering
                                                                 (considering

whether plaintiffs
whether plaintiffs showed
                   showed large
                          large capacity magazines are
                                capacity magazines are commonly used for
                                                       commonly used     self-
                                                                     for self-

defense); Grant
defense); Grant v. Lamont, No.
                v. Lamont, No. 3:22-CV-01223,
                               3:22-CV-01223, 2023
                                              2023 WL
                                                   WL 5533522, at *5-6
                                                      5533522, at      & n.5
                                                                  *5-6 & n.5

(D. Conn.
(D.       Aug. 28,
    Conn. Aug. 28, 2023)
                   2023) (same,
                         (same, for
                                for assault weapons), DeWilde
                                    assault weapons), DeWilde v.
                                                              v. United States,
                                                                 United States,

No. 1:23-CV-00003-SWS,
No. 1:23-CV-00003-SWS, 2023
                       2023 WL
                            WL 4884582,
                               4884582, at
                                        at *5-8
                                           *5-8 (D.
                                                (D. Wyo.
                                                    Wyo. July 17, 2023)
                                                         July 17, 2023)

(same, for
(same,     machineguns); Bevis,
       for machineguns); Bevis, 2023
                                2023 WL
                                     WL 2077392,
                                        2077392, at *9-16 &
                                                 at *946  & nn.7,
                                                            nn.7, 18-22
                                                                  18-22

(historical regulations
(historical regulations on “melee weapons,"
                        on "melee weapons,” including
                                            including Bowie
                                                      Bowie knives,
                                                            knives, justified
                                                                    justified bans
                                                                              bans

on selling assault
on selling         weapons and
           assault weapons and large
                               large capacity magazines).
                                     capacity magazines).



                                         18
                                         18
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      If left
      If left undisturbed,
              undisturbed, the
                           the panel's
                               panel’s analysis
                                       analysis will
                                                will govern
                                                     govern challenges involving
                                                            challenges involving

many highly
many highly dangerous
            dangerous weapons
                      weapons that
                              that States quite reasonably
                                   States quite reasonably seek
                                                           seek to
                                                                to regulate
                                                                   regulate or
                                                                            or

ban: assault
ban: assault weapons,
             weapons, high-capacity
                      high-capacity magazines,
                                    magazines, and more. In
                                               and more. In this
                                                            this matter
                                                                 matter of life
                                                                        of life

and death,
and death, the
           the Court should ensure
               Court should        its precedent
                            ensure its precedent fully
                                                 fully comports with the
                                                       comports with the balance
                                                                         balance

the Supreme
the         Court struck
    Supreme Court struck in Heller, McDonald,
                         in Heller, McDonald, and
                                              and Bruen.
                                                  Bruen.

                                  CONCLUSION
                                  CONCLUSION

      The petition
      The petition for panel rehearing
                   for panel           and rehearing
                             rehearing and rehearing en banc should
                                                     en banc should be
                                                                    be granted.
                                                                       granted.

                                                  Respectfully submitted,
                                                  Respectfully submitted,
September 20, 2023
September 20, 2023
                                                  /s/ Neal Kumar
                                                  /s/ Neal Kumar Katyal
                                                                  Katyal     _
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ANNE  E. L OPEZ
         LOPEZ                                    NEAL KUMAR
                                                  NEAL  KUMAR KATYAL
                                                                 KATYAL
   Attorney General
   Attorney           of the
             General of      State of
                         the State of Hawai
                                      Hawai‘i`i   REEDY C.
                                                  REEDY   C. SWANSON
                                                             SWANSON
KALIKO‘ONALANI
KAUKO'   ONĀLANI D.   FERNANDES
                   D. FERNANDES                   DANA A.
                                                  DANA   A. R APHAEL
                                                            RAPHAEL
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   Solicitor General                              HOGAN LOVELLS
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                                                  Lopez and
                                                        and Darryl
                                                            Darryl Ng
                                                                   Ng




                                          19
                                          19
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                      CERTIFICATE
                      CERTIFICATE OF
                                  OF COMPLIANCE
                                     COMPLIANCE

      Pursuant to Fed.
      Pursuant to Fed. R.
                       R. App.
                          App. P.
                               P. 32(g),
                                  32(g), II certify the following:
                                            certify the following:

      1. This
      1. This petition
              petition complies with the
                       complies with the type-volume
                                         type-volume limitation
                                                     limitation of Fed. R.
                                                                of Fed.    App. P.
                                                                        R. App. P.

35(b)(2), Fed.
35(b)(2), Fed. R. App. P.
               R. App.    40(b)(1), and
                       P. 40(b)(1), and Circuit
                                        Circuit Rule 35-4 and
                                                Rule 35-4     40-1 because
                                                          and 40-1 because it
                                                                           it

contains 4,193 words,
contains 4,193 words, excluding those parts
                      excluding those parts exempted by Fed.
                                            exempted by Fed. R. App. P.
                                                             R. App. P. 32(f).
                                                                        32(f).

      2. This
      2.      petition complies
         This petition          with the
                       complies with the format, typeface, and
                                         format, typeface, and type
                                                               type style
                                                                    style

requirements of
requirements    Fed. R.
             of Fed.    App. P.
                     R. App.    32(a)(4)-(6).
                             P. 32(a)(4)-(6).

                                       /s/ Neal Kumar
                                       /s/ Neal Kumar Katyal
                                                      Katyal
                                       Neal Kumar
                                       Neal  Kumar Katyal
                                                   Katyal
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                         CERTIFICATE OF
                         CERTIFICATE OF SERVICE
                                        SERVICE

      II certify that on
         certify that on September 20, 2023,
                         September 20, 2023, II filed the foregoing
                                                filed the foregoing Petition with the
                                                                    Petition with the

Clerk of the
Clerk of the Court
             Court for the United
                   for the United States
                                  States Court
                                         Court of Appeals for
                                               of Appeals     the Ninth
                                                          for the Ninth Circuit by
                                                                        Circuit by

using the
using the appellate
          appellate CM/ECF system.
                    CM/ECF system.

      II certify that all
         certify that all participants
                          participants in the case
                                       in the case are registered CM/ECF
                                                   are registered CM/ECF users
                                                                         users and
                                                                               and

that service
that service will
             will be
                  be accomplished
                     accomplished by
                                  by the
                                     the appellate
                                         appellate CM/ECF
                                                   CM/ECF system
                                                          system

                                              /s/ Neal Kumar
                                              /s/ Neal Kumar Katyal
                                                             Katyal
                                              Neal Kumar
                                              Neal  Kumar Katyal
                                                          Katyal
